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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND


UNITED STATES OF AMERICA

               v.                                   CRIMINAL NO: TDC-24-211

HOAU-YAN WANG,

Defendant.


                                 ENTRY OF APPEARANCE

       Please enter the appearance of Vasanth Sridharan, Trial Attorney in the Fraud Section of

the Criminal Division, as counsel on behalf of the United States.

                                             Respectfully submitted,

                                             Glenn S. Leon
                                             Chief
                                             Fraud Section, Criminal Division
                                             United States Department of Justice


                                        By: ______/s/_____________________
                                            Vasanth Sridharan
                                            Fraud Section, Criminal Division
                                            United States Department of Justice
